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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO

WESTERN WATERSHEDS PROJECT,         )
et al.,                             )        Case No. 1:16-cv-00083-BLW
                                    )
      Plaintiffs,                   )
                                    )        DEFENDANTS’ STATUS
v.                                  )        REPORT
                                    )
U.S. DEPARTMENT OF THE              )
INTERIOR, et al.,                   )
                                    )
      Defendants.                   )
____________________________________)




Defendants’ Status Report
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       Defendants U.S. Department of the Interior et al. hereby submit this status report

pursuant to the Court’s May 24, 2021, Order, ECF No. 283.

       The background of this case is explained in Defendants’ May 10, 2021, Status Report,

ECF No. 282, and Defendants provided further updates in their subsequent status reports. See

ECF Nos. 285, 286, 290, 293, 294, 298, 299, 302, 303, 308, 309, 310, 313, 320, 322, 323, 327,

329, 330 and 331. The status of the U.S. Bureau of Land Management’s (“BLM”) and the U.S.

Forest Service’s (“Forest Service”) evaluation of Sage Grouse policy is discussed below.

       BLM is engaged in two separate environmental reviews relating to Sage Grouse policy.

First, BLM is evaluating a proposed withdrawal of lands from location and entry under the

United States mining laws in response to the Court’s order granting partial summary judgment to

Plaintiffs on that claim and remanding the action to the Department of the Interior. See Feb. 11,

2021, Mem. Decision and Order, ECF No. 264. BLM published a notice in the Federal Register

announcing that the Secretary of the Interior is re-initiating a new National Environmental Policy

Act (“NEPA”) process to evaluate a proposal to withdraw approximately 10 million acres of land

from location and entry under the mining laws to conserve Sage Grouse habitat. See 86 Fed.

Reg. 44,742 (Aug. 13, 2021). As a preliminary step, BLM has worked with the U.S. Geological

Survey to update the mineral potential report that will inform this effort. The next step in the

process will be updating the draft environmental impact statement with cooperating agencies to

ensure it reflects current information related to greater sage-grouse trends and social and

economic conditions. The BLM anticipates issuing a draft environmental impact statement in

fall 2024.

       Second, BLM is evaluating the Greater Sage Grouse Resource Management Plan

Amendments issued in 2019 (the “2019 Plans”), which were enjoined by the Court, see Oct. 16,




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2019, Mem. Decision and Order, ECF No. 189, as well as the six Supplemental Environmental

Impact Statements and records of decision issued at the end of 2020 and the beginning of 2021,

respectively. On November 22, 2021, the U.S. Bureau of Land Management’s Notice of Intent

to Amend Land Use Plans Regarding Greater Sage-Grouse Conservation and Prepare Associated

Environmental Impact Statements was published in the Federal Register. See 86 Fed. Reg.

66,331 (Nov. 22, 2021). This new planning process will address inclusion of any new

information and revisit the deficiencies previously identified by the Court. Virtual public

scoping meetings took place on January 11 and January 24, 2022, and the scoping period closed

on February 7, 2022. BLM completed its review of the comments and published a Scoping

Report summarizing the comments and identifying planning issues on July 22, 2022. See

https://eplanning.blm.gov/public_projects/2016719/200502020/20062491/250068673/20220627

_GRSGScopingReport_Final_508.pdf. BLM published a draft plan amendment and associated

draft environmental impact statement on March 15, 2024. The public comment period closed on

June 13, 2024. BLM anticipates that it will release a proposed plan amendment and final

environmental impact statement by early October.

       The Forest Service also is evaluating Sage Grouse policy. The Forest Service continues

to work on a planning process that was initiated in 2017. The Forest Service issued a Final EIS

and draft records of decision for Proposed Land Management Plan Amendments for pre-

decisional objections on July 31, 2019. See https://www.govinfo.gov/content/pkg/FR-2019-07-

31/pdf/2019-16283.pdf. Under Forest Service regulations, the Final EISs and draft records of

decision were subject to a pre-decisional objection process. See 36 C.F.R. 219 subpart B. The

period for filing objections closed on October 1, 2019, and the Forest Service sent responses to

the objections on August 31, 2020. It is uncertain when the Forest Service will issue decisions.




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       In light of the foregoing, Defendants request that these proceedings continue to be put on

hold for an additional sixty days, at which point Defendants will provide an update regarding the

agencies’ respective policies and planning processes with respect to Sage Grouse conservation.

The agencies may take actions that would obviate the need to proceed to the merits of the claims

regarding compensatory mitigation policy and the 2019 Plans. Allowing the agencies this

additional time would preserve the parties’ and the Court’s resources by avoiding potentially

unnecessary litigation. Courts have broad discretion to stay proceedings and to defer judicial

review in the interest of justice and efficiency. See Air Line Pilots Ass’n v. Miller, 523 U.S. 866,

879 n.6 (1998) (“[T]he power to stay proceedings is incidental to the power inherent in every

court to control the disposition of the causes on its docket with economy of time and effort for

itself, for counsel, and for litigants.”) (quoting Landis v. North Am. Co., 299 U.S. 248, 254

(1936)); see also CMAX, Inc. v. Hall, 300 F.2d 265, 268 (9th Cir. 1962).

       Respectfully submitted this 20th day of September, 2024,

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